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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
ELSA DIAZ REYES,
Petitioner, Case No. 2:20-cv-377-JLR-MAT
V. {ERGOPOSED] ORDER ON MOTION

TO SEAL PURSUANT TO LOCAL
CHAD WOLF, Acting Secretary of the CIVIL RULE 5(g)
Department of Homeland Security; the
DEPARTMENT OF HOMELAND NOTED ON MOTION CALENDAR:
SECURITY; ELIZABETH GODFREY, January 7, 2021

Acting Field Office Director of Enforcement
and Removal Operations, Seattle District
Office, Immigration and Customs
Enforcement; STEVEN LANGFORD, the Geo
Group Inc., Warden of Northwest ICE
Processing Center,

Respondents.

 

 

This matter having come before the Court on Petitioner’s Motion to Seal, the Court
hereby orders that the redacted portions of Petitioner’s Motion to Seal, Motion to Enforce, and
exhibits to the Maltese declaration are sealed. Good cause exists to seal these documents in light
of the sensitive law enforcement information that they contain and the threat that public

disclosure may pose to Petitioner’s safety and well-being.

[PROPOSED] ORDER ON NORTHWEST IMMIGRANT RIGHTS PROJECT
PET’R’S MOT. TO SEAL - 1 615 Second Avenue, Suite 400
Case No. 2:20-cv-377-JLR-MAT Seattle, WA 98104

Tel. (206) 957-8611

 
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DATED this \2 day of “Saa- n000. c
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United States District Judge

Presented this 7th day of January, 2021.

s/ Matt Adams
Matt Adams
Email: matt@nwirp.org

s/ Aaron Korthuis
Aaron Korthuis
Email: aaron@nwirp.org

s/ Margot Adams
Margot Adams
Email: margot@nwirp.org

Northwest Immigrant Rights Project
615 Second Ave., Ste 400

Seattle, WA 98104

(206) 957-8611

[PROPOSED] ORDER ON NORTHWEST IMMIGRANT RIGHTS PROJECT

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